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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 TREY GREENE, individually and on behalf
 of all others similarly situated,                Case No. 2:23-cv-01165

                Plaintiff

 v.

 ZAC PRINCE, FLORI MARQUEZ, TONY
 LAURA, JENNIFER HILL, and GEMINI
 TRADING, LLC,

                Defendants.


    [PROPOSED] ORDER GRANTING THE MOTION OF ANTONIE ELAS FOR
 APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF SELECTION OF LEAD
                            COUNSEL

       On the motion of Antonie Elas, and the Court having read all parties’ papers, and

considered all arguments of counsel, and good cause appearing,

       IT IS THIS ______ day of ____________, 2023, ORDERED AS FOLLOWS:

       1.      Antonie Elas is hereby appointed as Lead Plaintiff. Antonie Elas satisfies the

requirements for lead plaintiff pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(iii) and 15 U.S.C. § 77z-

1(a)(3)(B)(iii) of the Private Securities Litigation Reform Act of 1995 (the “PSLRA”).

       2.      Pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(v) and 15 U.S.C. § 77z-1(a)(3)(B)(v), the

Court approves of Antonie Elas’ selection of Lockridge Grindal Nauen P.L.L.P. and Gustafson

Gluek PLLC as lead counsel (“Lead Counsel”).

       3.      Lead Counsel shall have the following responsibilities and duties, to be carried out

personally or through counsel whom Lead Counsel shall designate:

            a. to coordinate the briefing and argument of motions;

            b. to coordinate the conduct of discovery proceedings;


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             c. to coordinate the examination of witnesses in depositions;

             d. to coordinate the selection of counsel to act as a spokesperson at pretrial

                conferences;

             e. to call meetings of plaintiff’s counsel as they deem necessary and appropriate from

                time to time;

             f. to coordinate all settlement negotiations with counsel for defendants;

             g. to coordinate and direct the pretrial discovery proceedings and the preparation for

                trial and the trial of this matter and to delegate work responsibilities to selected

                counsel as may be required; and

             h. to supervise any other matters concerning the prosecution, resolution, or settlement

                of this action.

        4.      No motion, request for discovery, or other pretrial proceedings shall be initiated or

filed by any plaintiff without the approval of Lead Counsel, so as to prevent duplicative pleadings

or discovery by plaintiffs. No settlement negotiations shall be conducted without the approval of

Lead Counsel.

        5.      Counsel in any related action that is consolidated with this Action shall be bound

by this organization of plaintiff’s counsel.

        6.      Lead Counsel shall have the responsibility of receiving and disseminating Court

orders and notices.

        7.      Lead Counsel shall be the contact between plaintiff’s counsel and defendants’

counsel, shall serve as the spokesperson for plaintiff’s counsel, and shall direct and coordinate the

activities of plaintiff’s counsel.




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       8.      During the pendency of this litigation, or until further order of this Court, the parties

shall take reasonable steps to preserve all documents within their possession, custody, or control,

including computer-generated and stored information, and materials such as data and electronic

mail, containing information which is relevant or which may lead to the discovery of information

relevant to the subject matter of the pending litigation.

                                                       IT IS SO ORDERED:


                                                       ______________________________
                                                       HON. KEVIN MCNULTY, U.S.D.J.




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